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cc: "Cantor, Daniel A.” <Raniel.Cantor@APORTER. COM>,
"Jandry@andrylawgroup.com" <jandry@andrylawgroup.com>
Subject: BP’s Initial Proposal - Claim No. 19691 - Casey Thonn ~
Date: Thu, 24 Jan 2013 20:18:56 -0500

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Transaction Date (UTC}: 2023-01-25 61:20:05

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Mr. Duval,

Please find enclosed BP's Initial Proposal with respect te the appeal of
claim nunber 19691 - Casey Thonn.

Kind seqards,
Sarah

Sarah EB. Warlick

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BP’S INITIAL PROPOSAL REGARDING CLAIM NO. 19691

INTRODUCTION

BP Exploration & Production Ine. (“BP”) respectfully submits this Memorandum in
Support of Its Initial Proposal with regard to the appeal of Claim No. 19691 (Claimant Casey
Thonn). The Settlement Program issued its original Eligibility Notice awarding the Claimant a
Compensation Amount of $83.10 on November 6, 2010) Following the Claimant's Request for
Reconsideration, the Settlement Program revised its calculation and issued a Compensation
Amount of $22,932.00, The Claimant then filed this Appeal .on January.7,.2013.

In his appeal, Claimant argues that (1) the Settientent Program incorrectly applied the
Seafood Compensation Framework’s Shrimp Compensation formula, (2) the Settlement Program
deducted Claimant’s prior seafood-related payment twice, and (3) the Settlement Program did
not accurately calculate the Claimant’s Accounting Support Reimoursement.

The Settlement Program properly calculated Claimant’s Award Amount, BP, therefore,
submits an Initial Proposal Corapensation Amount of $22,932.00 and Initial Proposal Prior
Payment Offset of $72,500, Although BP agrees that the Settlement Program miscalculated the
Claimant's Accounting Support Reimbursement, the Claimant is only entitled to $1,000, not the

more than $10,006 it is requesting.

EXPLANATION OF BP’s POSITION
The claim at issue is 2 Seafood Program shrimp boat captain claim for the vessel Boss
Hoss (Hull 1D LAZ62111E101). This claim is governed by the Seafood Compensation
Framework’s Shrimp Compensation Plan (the “Plan”). ‘Set! ement Agreement, Exhibit 10.

A. The Settlement Pro pr am Correctly Calculated Claimant’s Compensation Amount

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The Plan requires a vessel owner seeking compensation under the Historical Revenue
Method, like this Claimant, to provide evidence to demonstrate his or her commercial shrimping
revenue during the selected Benchmark Period. Settlement Agreement, Ex. 10 at 18-19. The
Setilement Agreement is clear that a claimant must substantiate its claimed losses by submitting,
among other things, (a) “[tjrip tickets or their equivalents” or (b} “[flederal or state tax and
financial information .. . to identify components of gross revenue derived from commercial
shrimp harvesting by vessel for the Benchmark Period for each vessel for which the Claimant
submits” a claim. id. at 19. The Seitlement Program uses this financial data to.determine the
claimant’s Benchmark Shrimp Revenue, which is the basis for determining the Claimant’s
claimed losses resulting from the Spill, Za at 21,

The Benchmark Shrimp Revenue can be based on either 2 Claimant's gross revenue or a
Claimant’s earnings. According to the Pian, “{iJhe Claims Administrator may determine the
gross vessel revenue or Boat Captain earnings from shrimp landings in the Guif Coast areas
based on the Claimant's tax retuns.,..” Jd. (emphasis added}. The Benchmark Revenue figure
is then inputted into a fornvula to arrive at a Total Adjusted Benchmark Shrimp Revenue, Za. at
21-22.

The Settlement Program must then determine the amount of costs, if any, to deduct from
a claimant’s revenue. if the Settlement Program used 2 claimant's gross revenue as its
Benchmark Revenue, then it must calculate a Claimant's Benchmark Costs, fd. at 22, The
Shrimp Cost Percentage is used to determine a Claimant’s Benchmark Shrimp Cost. Ja
According to the Plan, the Shrimp Cost Percentage is “expressed as a percentage of revenue and
reflects standard industry non-labor variable costs.” The resulting Benchmark Shrimp Cost is

then subtracted from the Claimant’s gross Tevenue. However, if a claimant’s earnings are used

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for Benchmark Revenue, the Program does not need calculate or subtract ary additional costs.
fd, This makes economic sense. Gross revenue is a claimant’s revenue before any deductions
for variable costs are applied, A claimant's earnings, on the other hand, already include
deductions for these costs and do not need to have additional costs subtracted from them,

The Claimant is arguing that simply because he is a Boat Captain and he used tax returns
for his financial data that the Shrimp Cost Percentage should not be used to calculate and then
deduct Benchmark Costs for his claim. This is contrary to the plain language of the Settlement
Agreement, The Settlement Agreement states that. the Benchmark Cost caloulation.should only
be skipped if, “the Claimant is a Boat Captain and Benchmark Revenue was calculated based
upon his earnings, such as from tax return[s] or financial information.” Jd. (emphasis added).
Here, the Settlement Program used Claimant's gress revenue of $156,000, indicated on his 2009
federal tax return as “Gross receipts,” to calculate Claiment’s Benchmark Revenus. Claimant's
2009 Form 1040, Schedule C, attached hereto as Exhibit 1. The Settlement Program, therefore,
properly applied the Shrimp Cost Percentage to Claimant's Benchmark Revenue to determine
and then subtract Claimant’s Benchmark Costs froin his gross-revenue.'

B. The Setilement Program Properly Deducted Claimant's Prior Seafood Spill-Related
Payments ,

According to the Seafood Compensation Framework, “[cfompensation received by an.
sligible Claimant under the Seafood Compensation Program will be reduced hy the amount of
prior Seafood Spill-Related Payments..,.” Settlement Agreement, Ex. 10 at 3. In order to apply
this requirement, the Settlement Agreement instructs that “[t]he Claims Administrator shall -

offset any compensation under the Seafood Compensation Program by the total of the Seafood

' The accounting report submitted with Claimant's original claim is 2lso in agreement with the

pecan Program’s calculation. See Coastal Claims Group Report at 8, attached hereto as
Xhibit 2,

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Spill-Related Payment amount.” /d. at 85. The Agreement defines Seafood Spill-Related
Payments as “compensation paid to a claimant through the OPA Process, by BP, the GCCF, or
through the Transition Facility for economic less claims relating to Seafood.” Jd at n. 3.
In his Appeal, the Claimant asserts that the Settlement Program applied his prior payment

offset twice. Indeed, the Eligibility Notices for Claimant's Boat Captain Claim (No. 19691) and

' Vessel Owner Claim (No. 19690) both include a prior payment offset of 872,500, BP agrees that
this offset should only apply once. BP notes that the Settlement Program has corrected this error
in the Claimant’s Post-Reconsideration Eligibility Notice for Claim.19691, According to the
“Summary of All Eligible Seafood Compensation Program Claims,” the prior payment offset has
only been applied once. *
Cc. The Claimant is Only Entitled to Accounting Support Reimbursement of $1,000

The Settlement Agreement provides for Accounting Support Reimbursements to

reimburse claimants for “reasonable and necessary accounting iess related to Claims
preparation.” Settlement Agreement § 4.4.13. The calculation of a Claimant’s reimbursement
depends on whether the Claimant is a business or an individual, Jd. at §§ 4.4.13.7-8. A Business
Claimant’s reimbursement, “may not exceed 2% of the total Econoric Damage Compensation
Atnount (excluding RTP) for business Claims over $50,000 with all other Claims limited to
$1000.” fa. at 4.4,13.8. A Business Claimant ts defined as, “an Entity, or a self-employed
Natural Person who filed a Form 1040 Schedule c Bot , which or who is an Economic Class

_ Member Claiming Economic Damage allegedly arising out of...the Deepwater Horizon

Incident.” Id. at § 38.15.

2 If the offset of $72,500 has been applied to a prior Award received by the Claimant, BP agrees
that it should not be applied here. However, if it has not been applied to any prior Award, BP
‘submits that the offset should apply to this claim.

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The Claimant asserts that he is a Business Claimant, because he filed a Form 1040
Schedule C for his shrimping business. The record evidence indicates that Claimant filed a
Schedule C and is, therefore, entitled to accounting support reimbursement as a Business
Claimant, According to the Claimant’s Memorandum in Support of its Appeal, it is seeking
reimbursement of $10,562.50 in fees for claim preparation work for Claimant’s Boat Captain
claira. See Coastal Claims Invoice, attached hereto as Exhibit 3. In its Post-Reconsideration
Eligibility Notice, the Settlement Program identified $1,161.25 in reimbursable fees for this
claim, As a Business Claimant with.a pre-RTP Compensation Amount of less.than $50,000,
reimbursement is capped at $1,000. Therefore, BP submits that Claimant is eligible for an
Accounting Support Reimbursement Payment of $1,000.

2 RRS

In light of the above, BP agrees with the Settlement Program’s calculation of Claimant's
Compensation Amount. BP, therefore, submits an Initial Proposal Cormpensation Amount of
$22,932,00, the amount the Claimant is entitled to according to the terms of the Settlement
Agreement’s Seafood Compensation Framework. Additionally, BP agrees that Claimant's Prior
Seafood Spill-Related Payments should only be deducted once, but without evidence that these
payments have been deducted from other Claims for which the Program has issued payment, BP
submits an Initial Proposal Prior Payment Offset of $72,500, Finally, BP submits that Claimant

is entitled to Accounting Support Reimbursement of $1,000.

